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                              UNITED STATES DISTRICT COURT
                               MIDDLE DISTRICT OF FLORIDA
                                  JACKSONVILLE DIVISION

   UNITED STATES OF AMERICA

   vs.                                                         Case No. 3:18-cr-89-J-34JRK

   KATRINA BROWN



                                           ORDER

          This cause is before the Court on Defendant Katrina Brown’s Motion to Produce

   Handwritten Notes/Rough Notes, Written Statements and Recordings (Doc. No. 62;

   “Motion”), filed October 19, 2018. The Government opposes the Motion. See United States’

   Memorandum Opposing Defendant Katrina Brown’s Motion to Produce Handwritten

   Notes/Rough Notes, Written Statements, and Recordings (Doc. No. 77; “Response”), filed

   November 2, 2018.

          In her Motion, Defendant seeks the production of two categories of statements: (1)

   handwritten notes prepared by Government agents; and (2) written statements and any

   recordings of witness interviews. Motion at 1, 2-3. Defendant also requests early production

   of Jencks material. Id. at 2.

          As to the second category, written statements and recorded statements of witnesses,

   the Government does not dispute whether these statements meet the definition of Jencks

   material. See Response at 5. The Government, however, represents that it “possesses no

   such recordings of likely trial witnesses.” Id. Moreover, the Government represents that it

   “has already produced the Jencks Act statements of likely witnesses, including certain

   reports, correspondence, and grand jury transcripts and exhibits.” Id. The Government also
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   recognizes that “months before trial, the decision of precisely which witnesses will be called

   to testify has not been made.” Id.

             As to the first category, the handwritten interview notes of Government agents, the

   Government points out (and Defendant does not dispute) that such notes “generally do not

   constitute a Jencks Act ‘statement’ that is subject to disclosure. Id. at 2; see Motion at 2.

   At this point, there has been no showing that rough notes exist, or if they do exist, that they

   meet the definition of a Jencks Act statement. To the extent, however, that agent rough

   notes or agent interview notes of Government witnesses now exist or are later made, they

   shall be preserved in the event review of the notes by the Court becomes necessary in the

   future.

             As to the early production of Jencks material, the Government and Defendant agreed

   at the arraignment to produce Jencks material forty-eight (48) hours in advance of a witness

   testifying. See Minute Entry (Doc. No. 40). Moreover, as stated above, to the extent the

   Government has identified likely witnesses who will testify at trial, the Government states it

   already has turned over the Jencks material.

             Based on the foregoing, it is

             ORDERED:

             1.     Defendant Katrina Brown’s Motion to Produce Handwritten Notes/Rough

   Notes, Written Statements and Recordings (Doc. No. 62) is DENIED, except to the extent

   that the parties have agreed to produce Jencks material forty-eight (48) hours prior to a

   witness testifying.



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         2.     To the extent that agent rough notes or agent interview notes of Government

   witnesses now exist or are later made, they shall be preserved in the event review of the

   notes by the Court becomes necessary in the future.

         DONE AND ORDERED at Jacksonville, Florida, on December 3, 2018.




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   Copies to:
   Assistant U.S. Attorneys (Duva/Coolican)
   Darcy D. Galnor, Esquire




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